 ~ 8nd dolscrlbe Ill prapll'!y ar ..-1to1e .....,_ - . 1 • the end of the fUmtiw in cohlmn fan~~ . .,_ - " f . . . . , . faund. ..,..bind, who found It 8nd hi dn:riptiDn Clncludo ~
 "-'-V,-,.,~ tt ~....,-~tar o.-rat11111 ll*otit!ati1111, . . . - - 1.0 • ........, • _.of Nlmllw. Ott.ooder'• 4+1ut •• clllocriptlon,lf            ,_..,._lei         iftCiudt- If-.-.
~-.ax.,_ cade• ..._lleilflt. _..t.CIIIar-vealoheir,canpleKiaft, .... ~n:.lf~ . _ _ ......                    -.•x.--*••·               C... ot I.R .......... If "'-n.end- "111 a..ty."


 SUPPLEMENTARY REPORT                                               ~ dlll:r!Ptianl811d- in this ..a.. --' ...
                                                                    .~Iiana -~ ....... indic:ftld Olherwilo.
 attCAGO I'OUCE
                                                                           l.ual OI'F.CXIOE

                                                                                 0110




                                                                                                                                                                                     '27. \IICTl I
                                                                                                                                                                                     tiiiiELCXlt




                                                                                                                                                                             Oz~

                                   SEXC.            8 EX C.       7 CLSD. M.IF CAll!
                                 0CLRD.            OCLRo.      o--           ou...RUT         02DIRECTEo       03CICIW'LRFIJSO.      o.c:ciMMUNITY      osoTH£"'
                                    CU)SED         ·   C.EN       CltiM.       APIIOSEC.        TOJUV;CRT.       TOI'ROIECUTE           ADJI.IS"IMENT     EXCEI'T.
           IIIUIIMAI'IY CASES ONLY- THE ORIGINAL CASE REJIIORT IS IU8STANTIALLY CXIIUlECT, AND a»>TACf 111TH THE VICTIM MAS DISCLCI8ED NO ADDITIONAL PERTINENT INFORMATION.


 &IIIAIIIIATIVE                                .
 This is ..a. Ljne_llp....suppJ.eman:tary Rep.ar.t__.
                                                                                                 'FE"!~!\
                                                                                                    (u~lH.ii I '
                                                                                                                     n..'E' T .RET  ... I\'T/1·~~-· [ -~ E
                                                                                                                                _ . !:1~ \iii~ i'*i-.

 Date,T~_, Loc~~i~n o:t I4_QJLU:Q:                                             ___ 18....Hal: 1985.--.at 1250 :era. at Pea 1 VIC
 Persons Viewing ~ne ~-·--------~~L=~=~~-GS==T=ON~,~Ra==n~gy~~~~V~B~-------------------­
                                                                                       I·IOlilliS, Gerald H/B

                                              -----·---
~-ea-Oae Violent Crimes                                                                                                               21 Uay 1985
Detective Division                                                                                                                   BD# F. 151 922
,/ ·                                                       Page Two

SUPERVISOR PBESENT:                                                                           Sgt. J. Murphy #1389
PERSOUS m LINE UP:                                                                           BAWKINS, Earl M/.B IR#444722
                                                                                             DINKINS, Herbert .ri/B IR#43?950
                                                                                             FERGUSON, Ray !'1/B IR;f319766
                                                                                             GREEN, Charles IVB L'W!16315
                                                                                              CARTER,Samuel M/B IR#None
IDENTIFICATION:                                                                              Subject #1 Earl Hawkins identified
                                                                                             by all three parties viewing the
                                                                                             line up.

IIrJESTIG.A~IOn:                                                                             Reporting detective conduc-ted the
                                                                                             above line ups reletive to the Roniciues
of 3Dith a~d Picknon.
                                                                                             Ran~ ~:GS':'C!T vieued.                        the line up ancl
positively icier:ti.fiel:. tt.c; S'...i.bject E-~.l::~!E c..s                                                          OLe           cf tbc o:L.feu:.le:.... ~; ~·T~lo
shot t!le -!;wo -.,ricti:ls.




also i.:iau-;;.ifieci ~.:..-.nc:::r3 as one
"'u ~-:·_-.c_-·o+: P.._~·J-~_-.... .... ~ ..,. ~·,.JJ.:...~n •
....   v   ...     ....   -   -     oJ ""'-'-   .:;;> ......   •   .J ..~.. .... . . . , .


of~ taei::- aaads.



                                                                                             Detective David O'Callagaau ;~!~72~
                                                                                             Ji.:_.. ea
                                                                                                  vne Viole::rt: GriLes
                                                                                             :Jetective ~i7:..sion




                                                                                      . PERf,\AtiENT RETENiiOt~ FILE




                                                                                     :p
                                                                                     L't..




                                                                                                                                                •
                                                                                                          ................__ ...
                                                                                                                             ·-· ....... _....... ·-·- .
                                                                                                                                   .,_~                ·----·---·------·-·-···
